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                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE: MARK A. KNIGHT                                        CHAPTER 13
                                                                  CASE NO: 16-11170


                      MOTION FOR AN ORDER ALLOWING DEBTOR
                     TO INCUR ADDITIONAL DEBT NUNC PRO TUNC

       COMES NOW Debtor, by and through counsel, and files this Motion for an Order

Allowing Debtor to Incur Additional Debt Nunc Pro Tunc and would show unto the court the

following:

       1. After filing his Chapter 13 Bankruptcy case on April 3, 2016, Debtor inherited property

from a relative. He then decided it would be in his best interest to borrow money against this

property for the purpose of paying the balance of his Chapter 13 Bankruptcy Case in full. On or

around May 9, 2019 Debtor incurred a new loan in the amount of $14,043.00 with Community

Mortgage and Loan, Inc. d/b/a/ Easy Finance of Iuka. The loan amount included $10,335.00 which

was the estimated amount needed to pay off the Chapter 13 bankruptcy debt, $250.00 for closing

attorney fees, and the remaining to the Debtor. The interest rate of the loan is 18.00% This new

debt requires a payment of $370.00 per month for 60 months. The Debtor’s current Chapter 13

play payment is $472.00 per month. Debtor made the decision to incur the new post-petition loan

without consulting his attorney and without permission from this Court.

       2. Debtor, Mark Knight, failed to understand that he was not allowed to incur new debt

without permission of the Court and signed an agreement to assume the payments on the new debt

with Community Mortgage and Loan, Inc. d/b/a Easy Finance of Iuka according to the terms as

stated above. He now understands that he should have sought permission from the Court prior to

making the loan and prays the Courts forgive his error.
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       3. Debtor believes it would be in his best interest to be allowed to keep the new post-

petition loan for the purpose of paying his Chapter 13 Bankruptcy Case in full. Furthermore,

Debtor believes he will be able to pay the debt according to the terms as stated above as the

monthly payment will be less than his current Chapter 13 plan payment.

       WHEREFORE PREMISES CONSIDERED, Debtor prays that the Court allows Debtor to

incur this additional debt, Nunc Pro Tunc.

       Respectfully submitted, this the 2nd day of July, 2019


                                             /s/ Miranda Linton Williford
                                             Miranda Linton Williford
                                             Debtors' Attorney



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